            Case: 3:05-cr-00781-JGC Doc #: 410 Filed: 05/17/06 1 of 1. PageID #: 1237
                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF OHIO
                                         WESTERN DIVISION


       United States of America,                                            Case No. 3:05cr781-21

                       Plaintiff(s)
                                                                             ORDER
               -vs-

       Britney S. Wilson ,                                                  Judge David A. Katz

               Defendant.


       This is a criminal case which was referred to United States Magistrate Judge Vernelis K.

Armstrong for the taking, on consent of the parties, of a plea of guilty. The Magistrate Judge has filed

her Report & Recommendations; no objection has been filed.

       Having determined that the Magistrate Judge satisfied all requirements of Fed.R.Crim. P. 11

and the United States Constitution: she correctly found the defendant to be competent, aware of the

charge and consequences of conviction and his rights and waiver thereof. The Magistrate also

correctly found that the defendant had consented to proceed before the Magistrate Judge and

tendered his plea of guilty knowingly, intelligently and voluntarily. Finally, the Magistrate Judge also

correctly found that there was an adequate factual basis for the plea.

       On de novo review of the record and Report & Recommendation, I accept and adopt the

Magistrate Judge’s findings, and conclude that the defendant’s plea of guilty conforms to all

applicable provisions of Rule 11 and the Constitution.

       In light of those findings and that conclusion, it is hereby

       ORDERED THAT the defendant’s plea of guilty is accepted and a finding of guilty shall be

entered.

                                                      IT IS SO ORDERED.


                                                      s/ DAVID A. KATZ 5/17/06
                                                      ___________________________

                                                      DAVID A. KATZ
                                                      U S. District Judge
